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     Nevada Department of Corrections
 9
                                  UNITED STATES DISTRICT COURT
10
                                          DISTRICT OF NEVADA
11
     DONALD WALDEN JR., NATHAN                           Case No. 3:14-cv-00320-MMD-WGC
12   ECHEVERRIA, AARON DICUS, BRENT
     EVERIST, TRAVIS ZUFELT, TIMOTHY
13   RIDENOUR, and DANIEL TRACY on behalf                STIPULATION AND ORDER TO EXTEND
     of themselves and all others similarly situated,    THE DEADLINE FOR (1) FILING
14                                                       DISPOSITIVE MOTIONS AND (2) FILING
                            Plaintiffs,                  AN OPPOSITION BRIEF TO
15                                                       PLAINTIFFS’ MOTION FOR PARTIAL
     vs.                                                 SUMMARY JUDGMENT ON LIABILITY
16                                                       FOR UNPAID WAGES UNDER THE FLSA
     THE STATE OF NEVADA, EX REL. ITS
17   NEVADA DEPARTMENT OF                                (SECOND REQUEST)
     CORRECTION, and DOES 1-50,
18
                            Defendants.
19

20          Defendant, the State of Nevada, Ex. Rel. Its Nevada Department of Corrections (“NDOC”),

21   and Plaintiffs Donald Walden Jr., Nathan Echeverria, Aaron Dicus, Brent Everist, Travis Zufelt,

22   Timothy Ridenour, and Daniel Tracy, on behalf of themselves and all others similarly situated

23   (“Plaintiffs”), by and through their respective counsel of record, hereby stipulate and agree to extend

24   the dispositive motion deadline by one week, from April 1, 2020 to April 8, 2020.

25          The Parties further stipulate and agree to extend the deadline for responding to Plaintiffs’

26   Motion for Partial Summary Judgment on Liability for Unpaid Wages Under the FLSA [ECF No.

27   256] by one week, from March 30, 2020 to April 6, 2020.

28          This stipulation is submitted in compliance with LR IA 6-1. Good cause exists for the
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 1   requested extension due to the challenges of working remotely due to the COVID-19 crisis,

 2   including slower connectivity, communications delays, and obtaining records necessary to the

 3   motions.

 4          Accordingly, the parties agree that the requested extension furthers the interest of this

 5   litigation and is not being requested in bad faith or to delay these proceedings unnecessarily.

 6          This is the parties’ second request for extension of this deadline.

 7          DATED this 30th day of March, 2020.

 8                                                  WILSON, ELSER, MOSKOWITZ,
                                                    EDELMAN & DICKER LLP
 9
                                                    /s/ James T. Tucker
10                                                  Sheri M. Thome, Esq., Nevada Bar No. 008657
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12                                                  Las Vegas, Nevada 89101
                                                    Attorneys for Defendant
13

14          DATED this 30th day of March, 2020.

15                                                  THIERMAN BUCK LLP

16                                                  /s/ Leah L. Jones
                                                    Mark R. Thierman, Esq., Nevada Bar No. 8285
17                                                  Joshua D. Buck, Esq., Nevada Bar No. 12187
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18                                                  7287 Lakeside Drive
                                                    Reno, Nevada 89511
19                                                  Attorneys for Plaintiffs

20
                                                   ORDER
21
            GOOD CAUSE SHOWN, IT IS SO ORDERED.
22                      30th           March
            Dated this _______ day of _____________________, 2020.
23

24
                                                            ___________________________________
25                                                          UNITED STATES DISTRICT JUDGE

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